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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------- X
                                                                         Civil Action: 21-CV-4106
   GILEAD SCIENCES, INC., GILEAD SCIENCES                                (AMD)(RER)
   IRELAND UC, and GILEAD SCIENCES, LLC,
                                                                         ANSWER AND
                                                                         CROSS-CLAIMS
                                               Plaintiffs,

                            v.

   SAFE CHAIN SOLUTIONS, LLC; PATRICK BOYD;
   CHARLES BOYD; WORLDWIDE PHARMA SALES
   GROUP, INC. d/b/a PHARMASALES.COM; ADAM
   S. BROSIUS; BOULEVARD 9229 LLC; ISHBA Y
   SHUKUROV; PETER KHAIM; ZAFAR
   ABDULLAEV; PROPHARMA DISTRIBUTION LLC;
   LEVI ELLIS; SYNERGY GROUP
   WHOLESALERS LLC; CARLOS VEGA; ISLAND
   CHEMISTS, INC. d/b/a MEADOW DRUGS &
   SURGICAL; RANDOLPH
   MOHABIR; V.L.S. PHARMACY INC.; GOPESH M.
   PATEL; LIN PHARMACY INC. d/b/a MAKKI
   PHARMACY; SAMUEL YAKUBOV; MONICA A.
   NGO; ASCENSION PHARMACY HOLDINGS I LLC
   d/b/a MERMAID RX AND ARIEL PHARMACY;
   ALEX GELBINOVICH; PAUL ROSELL;
   MEDCONNECT ENTERPRISES, LLC; DHRUV
   RALHAN; D&K HEALTHCARE SOLUTIONS LLC;
   VENKATA SRINIVAS MANNAVA; DSP
   CONSULTING INC.; JOHN PANAGIOTOPOULOS;
   MIKE ZANGARI; RICCARDO MASSANA;
   STREAMLINE RX LLC; PAV AN
   MANTRIPRAGADA; MFK MANAGEMENT LLC
   d/b/a BOULEY ARD 9229 & 9229 BOULEY ARD;
   MAKE IT HAPPEN MARKETING INC.; QUAN
   HERNANDEZ; SCRIPTS WHOLESALE INC.;
   STEVEN DIAMANTSTEIN; USDV PHARMA LLC;
   NER250 LLC d/b/a SCRIPTS WHOLESALE;
   JEFFREYS. BEETLEY; MARYLAND PHARMACIES
   INC. d/b/a THE MEDICINE SHOPPE #1802;
   PRIMERX INC.; SEKAR VENKA TESH; OMOM
   PHARMACEUTICALS INC.; OMOM WHOLESALE
   CORP.; GUSTAVO FERNANDEZ; LUIS D.
   GONZALEZ HERRERO; JORDAN RODRIGUEZ
   MATO; INVICTA WHOLESALE SUPPLY LLC;

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   JORGE CABA; RXWHOLESALE.COM LLC;
   GABRIEL BETESH; CHARLES BREE; DANIEL
   GELBINOVICH; CESAR CASTILLO
   WHOLESALERS LLC f/k/a CESAR CASTILLO LLC;
   DNS DISTRIBUTOR LLC; JULIO MARTIN
   GONZALEZ; PHARMA PAC WHOLESALE CORP.;
   ANGEL TORAL; GENTEK LLC; EDEL REYES;
   RAPID'S TEX WHOLE SALES CORP; JOHN
   SANTOS; TITAN DISTRIBUTION & SERVICES
   LLC; TIDY GARAGES L.L.C.; GABRIEL DELGADO
   RAMIREZ; CM PHARMACEUTICAL LLC;
   JEFFREY W. GAFNEA; ROBERT W. GAFNEA; JM
   SMITH DISTRIBUTION CORP.; CARLOS
   HERNANDEZ; ASB WHOLESALE DISTRIBUTORS
   LLC; SIL VERLINE PHARMA LOGISTICS LLC; and
   ALBERTO ALONSO DIAZ,

                                                Defendant(s).
   ------------------------------------------------------------------X


         Defendant, RXWHOLESALE.COM, LLC (“Defendant” or “Answering Defendant”) by and

  through his attorneys, JACOB LAUFER, P.C., as and for a response to Plaintiffs’ Second Amended

  Complaint responds as follows:

              Answering generally:

   1.     At all times material hereto, RXWholesale.com, LLC acted in a manner that was proper,

          reasonable, lawful, and in the exercise of good faith, including operating under the belief

          that the documentation and medications RxWholesale.com LLC sold were lawful and

          legitimate.

   2.     RXWholesale.com, LLC denies any liability to the Plaintiffs for matters alleged in

          Plaintiffs’ Second Amended Complaint.

   3.     RXWholesale.com, LLC denies all allegations in the Complaint except as expressly

          and specifically admitted herein.




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                                             ANSWER

   1.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1 of the Complaint, but Defendant denies the

        allegations as they pertain to Answering Defendant.

   2.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 2 of the Complaint, but Defendant denies the

        allegations as they pertain to Answering Defendant.

   3.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 3 of the Complaint.

   4.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 4 of the Complaint, but Defendant denies the

        allegations as they pertain to Answering Defendant.

   5.   Defendant denies the allegations contained in Paragraph 5 of the Complaint.

   6.   Paragraph 6 of the Complaint contains legal assertions that do not require an answer. To

        the extent it calls for an answer, Defendant denies the allegations contained in Paragraph

        6 of the Complaint.

   7.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 7 of the Complaint, but Defendant denies the

        allegations as they pertain to Answering Defendant.

   8.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 8 of the Complaint.

   9.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 9 of the Complaint.




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  10.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 10 of the Complaint.

  11.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 11 of the Complaint.

  12.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 12 of the Complaint.

  13.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 13 of the Complaint.

  14.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 14 of the Complaint.

  15.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 15 of the Complaint.

  16.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 16 of the Complaint.

  17.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 17 of the Complaint.

  18.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 18 of the Complaint.

  19.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 19 of the Complaint.

  20.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 20 of the Complaint.

  21.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 21 of the Complaint.

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  22.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 22 of the Complaint.

  23.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 23 of the Complaint.

  24.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 24 of the Complaint.

  25.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 25 of the Complaint.

  26.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 26 of the Complaint.

  27.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 27 of the Complaint.

  28.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 28 of the Complaint.

  29.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 29 of the Complaint.

  30.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 30 of the Complaint.

  31.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 31 of the Complaint.

  32.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 32 of the Complaint.

  33.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 33 of the Complaint.

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  34.   Paragraph 34 of the Complaint is an ascription of a category title to certain named

        defendants, and does not require an answer. To the extent an answer is required,

        Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 34 of the Complaint.

  35.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 35 of the Complaint.

  36.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 36 of the Complaint.

  37.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 37 of the Complaint.

  38.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 38 of the Complaint.

  39.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 39 of the Complaint.

  40.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 40 of the Complaint.

  41.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 41 of the Complaint.

  42.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 42 of the Complaint.

  43.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 43 of the Complaint.

  44.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 44 of the Complaint.

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  45.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 45 of the Complaint.

  46.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 46 of the Complaint.

  47.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 47 of the Complaint.

  48.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 48 of the Complaint.

  49.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 49 of the Complaint.

  50.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 50 of the Complaint.

  51.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 51 of the Complaint.

  52.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 52 of the Complaint.

  53.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 53 of the Complaint.

  54.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 54 of the Complaint.

  55.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 55 of the Complaint.

  56.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 56 of the Complaint.

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  57.   Defendant admits the allegations contained in Paragraph 57 of the Complaint except

        avers that Gabriel Betesh is only one of RXWholesale.com LLC’s accounts receivables

        contacts, and that the other accounts receivable contact is Defendant Daniel Gelbinovich.

  58.   Defendant denies the allegations contained in Paragraph 58 of the Complaint except

        admits that Answering Defendant lives in Brooklyn, is the president and one of the

        accounts receivables contacts for RXWholesale.com LLC.

  59.   Defendant denies the allegations contained in Paragraph 59 of the Complaint.

  60.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 60 of the Complaint, except admits that Daniel

        Gelbinovich is affiliated with RxWholesale as its CEO and part-owner.

  61.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 61 of the Complaint.

  62.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 62 of the Complaint.

  63.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 63 of the Complaint.

  64.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 64 of the Complaint.

  65.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 65 of the Complaint.

  66.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 66 of the Complaint.

  67.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 67 of the Complaint.

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  68.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 68 of the Complaint.

  69.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 69 of the Complaint.

  70.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 70 of the Complaint.

  71.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 71 of the Complaint.

  72.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 72 of the Complaint.

  73.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 73 of the Complaint.

  74.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 74 of the Complaint.

  75.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 75 of the Complaint.

  76.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 76 of the Complaint.

  77.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 77 of the Complaint.

  78.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 78 of the Complaint.

  79.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 79 of the Complaint.

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   80.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 80 of the Complaint.

   81.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 81 of the Complaint.

   82.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 82 of the Complaint.

   83.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 83 of the Complaint.

   84.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 84 of the Complaint.

   85.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 85 of the Complaint.

   86.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 86 of the Complaint.

   87.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 87 of the Complaint.

   88.   Paragraph 88 of the Complaint contains statements of law as to which no answer is

         required. To the extent an answer is required, Defendant denies knowledge or information

         sufficient to form a belief as to the truth of the allegations contained in Paragraph 88 of

         the Complaint.

   89.   Paragraph 89 of the Complaint contains statements of law as to which no answer is

         required. To the extent an answer is required, Defendant denies knowledge or information

         sufficient to form a belief as to the truth of the allegations contained in Paragraph 89 of

         the Complaint.

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   90.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 90 of the Complaint.

   91.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 91 of the Complaint.

   92.   Defendant denies the allegations in Paragraph 92 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph, except admits that

         RxWholesale.com LLC conducted business in New York.

   93.   Defendant denies the allegations contained in Paragraph 93 of the Complaint.

   94.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 94 of the Complaint.

   95.   Defendant denies the allegations contained in Paragraph 95 of the Complaint.

   96.   Paragraph 96 of the Complaint contains a statement of law as to which no answer is

         required. To the extent an answer is required, Defendant denies the allegations in

         Paragraph 96 of the Complaint as they pertain to the Answering Defendant, and denies

         knowledge or information sufficient to form a belief as to the truth of the remaining

         allegations contained in this paragraph.

   97.   Defendant denies the allegations contained in Paragraph 97 of the Complaint

   98.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 98 of the Complaint.

   99.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 99 of the Complaint.

  100.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 100 of the Complaint.

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  101.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 101 of the Complaint.

  102.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 102 of the Complaint.

  103.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 103 of the Complaint.

  104.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 104 of the Complaint.

  105.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 105 of the Complaint.

  106.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 106 of the Complaint.

  107.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 107 of the Complaint.

  108.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 108 of the Complaint.

  109.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 109 of the Complaint.

  110.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 110 of the Complaint.

  111.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 111 of the Complaint.

  112.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 112 of the Complaint.

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  113.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 113 of the Complaint.

  114.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 114 of the Complaint.

  115.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 115 of the Complaint.

  116.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 116 of the Complaint.

  117.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 117 of the Complaint.

  118.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 118 of the Complaint.

  119.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 119 of the Complaint.

  120.   Paragraph 120 of the Complaint contains a statement of law as to which no answer is

         required. To the extent an answer is required, Defendant denies knowledge or information

         sufficient to form a belief as to the truth of the allegations contained in Paragraph 120 of

         the Complaint.

  121.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 121 of the Complaint, and respectfully refers the

         Court to the cited source.

  122.   Defendant denies the allegations in Paragraph 122 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.

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  123.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 123 of the Complaint.

  124.   Defendant denies the allegations in Paragraph 124 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.

  125.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 125 of the Complaint.

  126.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 126 of the Complaint, but Defendant denies the

         allegations contained herein as they pertain to Answering Defendant.

  127.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 127 of the Complaint.

  128.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 128 of the Complaint.

  129.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 129 of the Complaint.

  130.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 130 of the Complaint.

  131.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 131 of the Complaint.

  132.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 132 of the Complaint.

  133.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 133 of the Complaint.

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  134.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 134 of the Complaint.

  135.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 135 of the Complaint.

  136.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 136 of the Complaint.

  137.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 137 of the Complaint.

  138.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 138 of the Complaint.

  139.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 139 of the Complaint.

  140.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 140 of the Complaint.

  141.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 141 of the Complaint.

  142.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 142 of the Complaint.

  143.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 143 of the Complaint.

  144.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 144 of the Complaint.

  145.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 145 of the Complaint.

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  146.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 146 of the Complaint.

  147.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 147 of the Complaint.

  148.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 148 of the Complaint.

  149.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 149 of the Complaint.

  150.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 150 of the Complaint.

  151.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 151 of the Complaint.

  152.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 152 of the Complaint.

  153.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 153 of the Complaint.

  154.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 154 of the Complaint.

  155.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 155 of the Complaint.

  156.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 156 of the Complaint.

  157.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 157 of the Complaint.

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  158.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 158 of the Complaint.

  159.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 159 of the Complaint.

  160.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 160 of the Complaint.

  161.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 161 of the Complaint.

  162.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 162 of the Complaint.

  163.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 163 of the Complaint.

  164.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 164 of the Complaint.

  165.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 165 of the Complaint.

  166.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 166 of the Complaint.

  167.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 167 of the Complaint.

  168.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 168 of the Complaint.

  169.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 169 of the Complaint.

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  170.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 170 of the Complaint.

  171.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 171 of the Complaint.

  172.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 172 of the Complaint.

  173.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 173 of the Complaint.

  174.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 174 of the Complaint.

  175.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 175 of the Complaint.

  176.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 176 of the Complaint.

  177.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 177 of the Complaint.

  178.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 178 of the Complaint.

  179.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 179 of the Complaint.

  180.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 180 of the Complaint.

  181.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 181 of the Complaint.

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  182.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 182 of the Complaint.

  183.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 183 of the Complaint.

  184.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 184 of the Complaint.

  185.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 185 of the Complaint.

  186.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 186 of the Complaint.

  187.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 187 of the Complaint.

  188.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 188 of the Complaint.

  189.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 189 of the Complaint.

  190.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 190 of the Complaint.

  191.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 191 of the Complaint.

  192.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 192 of the Complaint.

  193.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 193 of the Complaint.

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  194.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 194 of the Complaint.

  195.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 195 of the Complaint.

  196.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 196 of the Complaint.

  197.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 197 of the Complaint.

  198.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 198 of the Complaint.

  199.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 199 of the Complaint.

  200.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 200 of the Complaint.

  201.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 201 of the Complaint.

  202.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 202 of the Complaint.

  203.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 203 of the Complaint.

  204.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 204 of the Complaint.

  205.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 205 of the Complaint.

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  206.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 206 of the Complaint.

  207.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 207 of the Complaint.

  208.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 208 of the Complaint.

  209.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 209 of the Complaint.

  210.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 210 of the Complaint.

  211.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 211 of the Complaint.

  212.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 212 of the Complaint.

  213.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 213 of the Complaint.

  214.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 214 of the Complaint.

  215.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 215 of the Complaint.

  216.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 216 of the Complaint.

  217.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 217 of the Complaint.

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  218.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 218 of the Complaint.

  219.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 219 of the Complaint.

  220.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 220 of the Complaint.

  221.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 221 of the Complaint.

  222.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 222 of the Complaint.

  223.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 223 of the Complaint.

  224.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 224 of the Complaint.

  225.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 225 of the Complaint.

  226.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 226 of the Complaint.

  227.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 227 of the Complaint.

  228.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 228 of the Complaint.

  229.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 229 of the Complaint.

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  230.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 230 of the Complaint.

  231.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 231 of the Complaint.

  232.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 232 of the Complaint.

  233.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 233 of the Complaint.

  234.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 234 of the Complaint.

  235.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 235 of the Complaint.

  236.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 236 of the Complaint.

  237.   Defendant denies the allegations in Paragraph 237 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.

  238.   Defendant denies the allegations in Paragraph 238 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.

  239.   Defendant denies the allegations in Paragraph 239 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.




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  240.   Defendant denies the allegations in Paragraph 240 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.

  241.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 241 of the Complaint.

  242.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 242 of the Complaint.

  243.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 243 of the Complaint.

  244.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 244 of the Complaint.

  245.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 245 of the Complaint.

  246.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 246 of the Complaint.

  247.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 247 of the Complaint.

  248.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 248 of the Complaint.

  249.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 249 of the Complaint.

  250.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 250 of the Complaint.




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  251.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 251 of the Complaint.

  252.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 252 of the Complaint.

  253.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 253 of the Complaint.

  254.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 254 of the Complaint.

  255.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 255 of the Complaint.

  256.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 256 of the Complaint.

  257.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 257 of the Complaint.

  258.   Defendant denies the allegations in Paragraph 258 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.

  259.   Defendant denies the allegations contained in Paragraph 259 of the Complaint as they

         pertain to the Answering Defendant, and denies knowledge or information sufficient to

         form a belief as to the truth of the remaining allegations contained in this paragraph.

  260.   Defendant denies the allegations in Paragraph 260 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.




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  261.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 261 of the Complaint.

  262.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 262 of the Complaint.

  263.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 263 of the Complaint.

  264.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 264 of the Complaint.

  265.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 265 of the Complaint.

  266.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 266 of the Complaint.

  267.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 267 of the Complaint.

  268.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 268 of the Complaint.

  269.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 269 of the Complaint.

  270.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 270 of the Complaint.

  271.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 271 of the Complaint.

  272.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 272 of the Complaint.

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  273.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 273 of the Complaint.

  274.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 274 of the Complaint.

  275.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 275 of the Complaint.

  276.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 276 of the Complaint.

  277.   Defendant denies the allegations contained in Paragraph 277 of the Complaint, except

         admits, on information and belief that RxWholesale was formed by Charles Bree, that it

         received a New Jersey wholesale drug license, and admits that RxWholesale had a

         business address in Brick, New Jersey.

  278.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 278 of the Complaint, except admits that Gabriel

         Betesh was the President of RxWholesale, that he signed the referenced application, but

         denies that he submitted pedigree information with that application.

  279.   Defendant respectfully refers the Court to the original court filing referenced in Paragraph

         279 of the Complaint for its contents, and denies the truth of the allegations contained

         therein.

  280.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 280 of the Complaint.

  281.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 281 of the Complaint.




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  282.   Defendant denies the allegations in Paragraph 282 of the Complaint as they pertain to the

         Answering Defendant, and denies knowledge or information sufficient to form a belief

         as to the truth of the remaining allegations contained in this paragraph.

  283.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 283 of the Complaint.

  284.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 284 of the Complaint.

  285.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 285 of the Complaint.

  286.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 286 of the Complaint.

  287.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 287 of the Complaint.

  288.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 288 of the Complaint.

  289.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 289 of the Complaint.

  290.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 290 of the Complaint.

  291.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 291 of the Complaint.

  292.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 292 of the Complaint.




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  293.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 293 of the Complaint.

  294.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 294 of the Complaint.

  295.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 295 of the Complaint.

  296.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 296 of the Complaint.

  297.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 297 of the Complaint.

  298.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 298 of the Complaint.

  299.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 299 of the Complaint.

  300.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 300 of the Complaint.

  301.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 301 of the Complaint.

  302.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 302 of the Complaint.

  303.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 303 of the Complaint.

  304.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 304 of the Complaint.

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  305.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 305 of the Complaint.

  306.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 306 of the Complaint.

  307.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 307 of the Complaint.

  308.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 308 of the Complaint.

  309.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 309 of the Complaint.

  310.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  311.   Defendant denies the allegations contained in Paragraph 311 of the Complaint.

  312.   Defendant denies the allegations contained in Paragraph 312 of the Complaint.

  313.   Defendant denies the allegations contained in Paragraph 313 of the Complaint.

  314.   Defendant denies the allegations contained in Paragraph 314 of the Complaint.

  315.   Defendant denies the allegations contained in Paragraph 315 of the Complaint.

  316.   Defendant denies the allegations contained in Paragraph 316 of the Complaint.

  317.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  318.   Defendant denies the allegations contained in Paragraph 318 of the Complaint.

  319.   Defendant denies the allegations contained in Paragraph 319 of the Complaint.

  320.   Defendant denies the allegations contained in Paragraph 320 of the Complaint.

  321.   Defendant denies the allegations contained in Paragraph 321 of the Complaint.

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  322.   Defendant denies the allegations contained in Paragraph 322 of the Complaint.

  323.   Defendant denies the allegations contained in Paragraph 323 of the Complaint.

  324.   Defendant denies the allegations contained in Paragraph 324 of the Complaint.

  325.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  326.   Defendant denies the allegations contained in Paragraph 326 of the Complaint.

  327.   Defendant denies the allegations contained in Paragraph 327 of the Complaint.

  328.   Defendant denies the allegations contained in Paragraph 328 of the Complaint.

  329.   Defendant denies the allegations contained in Paragraph 329 of the Complaint.

  330.   Defendant denies the allegations contained in Paragraph 330 of the Complaint.

  331.   Defendant denies the allegations contained in Paragraph 331 of the Complaint.

  332.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  333.   Defendant denies the allegations contained in Paragraph 333 of the Complaint.

  334.   Defendant denies the allegations contained in Paragraph 334 of the Complaint.

  335.   Defendant denies the allegations contained in Paragraph 335 of the Complaint.

  336.   Defendant denies the allegations contained in Paragraph 336 of the Complaint.

  337.   Defendant denies the allegations contained in Paragraph 337 of the Complaint.

  338.   Defendant denies the allegations contained in Paragraph 338 of the Complaint.

  339.   Defendant denies the allegations contained in Paragraph 339 of the Complaint.

  340.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  341.   Defendant denies the allegations contained in Paragraph 341of the Complaint.

  342.   Defendant denies the allegations contained in Paragraph 342 of the Complaint.

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  343.   Defendant denies the allegations contained in Paragraph 343 of the Complaint.

  344.   Defendant denies the allegations contained in Paragraph 344 of the Complaint.

  345.   Defendant denies the allegations contained in Paragraph 345 of the Complaint.

  346.   Defendant denies the allegations contained in Paragraph 346 of the Complaint.

  347.   Defendant denies the allegations contained in Paragraph 347 of the Complaint.

  348.   Defendant denies the allegations contained in Paragraph 348 of the Complaint.

  349.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  350.   Defendant denies the allegations contained in Paragraph 350 of the Complaint.

  351.   Defendant denies the allegations contained in Paragraph 351 of the Complaint.

  352.   Defendant denies the allegations contained in Paragraph 352 of the Complaint.

  353.   Defendant denies the allegations contained in Paragraph 353 of the Complaint.

  354.   Defendant denies the allegations contained in Paragraph 354 of the Complaint.

  355.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  356.   Defendant denies the allegations contained in Paragraph 356 of the Complaint.

  357.   Defendant denies the allegations contained in Paragraph 357 of the Complaint.

  358.   Defendant denies the allegations contained in Paragraph 358 of the Complaint.

  359.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 358 as if fully set forth herein.

  360.   Defendant denies the allegations contained in Paragraph 360 of the Complaint.

  361.   Defendant denies the allegations contained in Paragraph 361 of the Complaint.

  362.   Defendant denies the allegations contained in Paragraph 362 of the Complaint.

  363.   Defendant denies the allegations contained in Paragraph 363 of the Complaint.

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  364.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  365.   Defendant denies the allegations contained in Paragraph 365 of the Complaint.

  366.   Defendant denies the allegations contained in Paragraph 366 of the Complaint.

  367.   Paragraph 367 of the Complaint contains statements of law as to which no answer is

         required. To the extent an answer is required, Defendant denies knowledge or information

         sufficient to form a belief as to the truth of the allegations contained in Paragraph 367 of

         the Complaint.

  368.   Defendant denies knowledge or information sufficient to form a belief as to thetruth

         of the allegations contained in Paragraph 368 of the Complaint, except admits that

         Answering Defendant is a person within the definition of 18 USC 1961(3).

  369.   Defendant denies the allegations contained in Paragraph 369 of the Complaint.

  370.   Defendant denies the allegations contained in Paragraph 370 of the Complaint.

  371.   Defendant denies the allegations contained in Paragraph 371 of the Complaint.

  372.   Defendant denies the allegations contained in Paragraph 372 of the Complaint.

  373.   Defendant denies the allegations contained in Paragraph 373 of the Complaint.

  374.   Defendant denies the allegations contained in Paragraph 374 of the Complaint.

  375.   Defendant denies the allegations contained in Paragraph 375 of the Complaint.

  376.   Defendant denies the allegations contained in Paragraph 376 of the Complaint.

  377.   Defendant denies the allegations contained in Paragraph 377 of the Complaint.

  378.   Defendant denies the allegations contained in Paragraph 378 of the Complaint.

  379.   Defendant denies the allegations contained in Paragraph 379 of the Complaint.

  380.   Defendant denies the allegations contained in Paragraph 380 of the Complaint.

  381.   Defendant denies the allegations contained in Paragraph 381 of the Complaint.

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  382.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 – 309 as if fully set forth herein.

  383.   Paragraph 383 of the Complaint contains statements of law as to which no answer is

         required. To the extent an answer is required, Defendant denies knowledge or information

         sufficient to form a belief as to the truth of the allegations contained in Paragraph 383 of

         the Complaint.

  384.   Defendant denies knowledge or information sufficient to form a belief as to the truth of

         the allegations contained in Paragraph 384 of the Complaint, except admits that

         Answering Defendant is a person within the definition of 18 USC 1961(3).

  385.   Defendant denies the allegations contained in Paragraph 385 of the Complaint.

  386.   Defendant denies the allegations contained in Paragraph 386 of the Complaint.

  387.   Defendant denies the allegations contained in Paragraph 387 of the Complaint.

  388.   Defendant denies the allegations contained in Paragraph 388 of the Complaint.

  389.   Defendant denies the allegations contained in Paragraph 389 of the Complaint.

  390.   Defendant denies the allegations contained in Paragraph 390 of the Complaint.

  391.   Defendant realleges and incorporates by reference its answers to the preceding

         paragraphs 1 through 309 as if fully set forth herein.

  392.   Defendant denies the allegations contained in Paragraph 392 of the Complaint.

  393.   Defendant denies the allegations contained in Paragraph 393 of the Complaint.

  394.   Defendant denies the allegations contained in Paragraph 394 of the Complaint.

  395.   Defendant denies the allegations contained in Paragraph 395 of the Complaint.

  396.   Defendant denies the allegations contained in Paragraph 396 of the Complaint.

  397.   Defendant denies the allegations contained in Paragraph 397 of the Complaint.

  398.   Defendant denies the allegations contained in Paragraph 398 of the Complaint.

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  399.      Defendant denies the allegations contained in Paragraph 399 of the Complaint.

  400.      Defendant denies the allegations contained in Paragraph 400 of the Complaint.

           Any Allegations Not Specifically Addressed Are Denied. All Allegations and Demands in the

  “Wherefore” and “Prayer For Relief” are denied. Further, all questions of law are referred to the

  Court.

                                   FIRST AFFIRMATIVE DEFENSE

            Plaintiffs have failed to state a claim upon which relief can be granted against the Answering

  Defendant.

                                  SECOND AFFIRMATIVE DEFENSE

           Answering Defendant acted in good faith, in a manner that was proper, reasonable, lawful,

  open and without knowledge of any fraudulent or unlawful activity. Answering Defendant reasonably

  believed that the product sold and supporting documentation were genuine and did not know of or

  knowingly assist in the sale of any counterfeit medications. Any violation by Answering Defendant

  to the extent that it occurred was due to the fraud of other parties over whom the Answering Defendant

  exercised no control.

                                   THIRD AFFIRMATIVE DEFENSE

           Plaintiffs’ attempt to enforce the Drug Supply Chain Security Act and other laws governing

  the sale, distribution, and marketing of drugs, including concerns related to pedigree documentation

  and drug labeling, fail because there is no private right of action, such claims being within the primary

  and exclusive jurisdiction of the Federal Drug Administration.

                                  FOURTH AFFIRMATIVE DEFENSE

            Answering Defendant has not infringed any copyrighted work or any trademark with respect

  to any protectable or enforceable rights owned by Plaintiffs.



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                                 FIFTH AFFIRMATIVE DEFENSE

         The Plaintiffs’ Complaint, and each claim alleged therein, is barred to the extent that Plaintiffs

  have unclean hands.

                                 SIXTH AFFIRMATIVE DEFENSE

         The Plaintiffs’ Complaint, and each claim alleged therein, is barred by the doctrines of laches,

  waiver and/or estoppel.

                               SEVENTH AFFIRMATIVE DEFENSE

         Answering Defendant adopts by reference any applicable and/or available affirmative defense

  pleaded by any other defendant.

                                EIGHTH AFFIRMATIVE DEFENSE

         Answering Defendant hereby gives notice that it intends to reply upon such other and further

  defenses as may become available or apparent during discovery in this case, and thus, it reserves the

  right to amend its Answer to assert any such defenses.

                                 NINTH AFFIRMATIVE DEFENSE

         Plaintiffs have sustained no damage from any act or omission by Answering Defendant.

           CROSS-CLAIM AGAINST DEFENDANT DANIEL GELBINOVICH FOR
                     CONTRIBUTION AND INDEMNIFICATION

    1.    Answering Defendant is not responsible for the acts alleged in the Complaint. Pursuant

         to Federal Rule of Civil Procedure rule 13(g), if Answering Defendant is found liable to

         Plaintiffs, then Defendant Daniel Gelbinovich (“Daniel”) is liable for the claims asserted

         against the Answering Defendant.

    2.   RxWholesale.com LLC is alleged in the Second Amended Complaint, among other

         things, to have sold purported Gilead medications with false pedigrees.

    3.   Daniel is the CEO and part-owner of RXWholesale.com, LLC.



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    4.   Daniel represented to Answering Defendant that he was experienced and knowledgeable

         in the pharmaceutical field, had spent his adult working life in that field, including as the

         owner of multiple pharmacies.

    5.   Daniel was the only member of RxWholesale who was involved in the purchase of

         medications, and in dealing with the pedigree and other documentation with respect to

         those medications.

    6.   Answering Defendant reasonably relied upon Daniel’s good faith dealing with

         Answering Defendant and Upon Daniel’s expertise and performance of his duties with

         respect to RxWholesale.

    7.   If the Answering Defendant is liable to Plaintiffs, then Answering Defendant is entitled

         to indemnification and contribution from Daniel due to Daniel’s culpable conduct in

         dealing with Answering Defendant and RxWholesale.

         WHEREFORE, by reason of the foregoing, Daniel is liable to the Answering Defendant for

  indemnification and contribution for any damages awarded in this lawsuit to Plaintiffs from the

  Answering Defendant, including attorney’s fees together with interest and costs.

                                    DEMAND FOR JURY TRIAL

                                 Answering Defendant demands trial by jury.

         WHEREFORE, Defendant hereby demands judgment as follows:

             a. That the Second Amended Complaint be dismissed in its entirety;

             b. Granting of its crossclaim against Daniel Gelbinovich together with attorney’s fees,

                 interest and compensatory and punitive damages.

             c. An award of costs, disbursements and legal fees; and

             d. Such other further and different relief as may be just and proper.


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      Dated: February 2, 2022

                                          Very truly yours,

                                          JACOB LAUFER, P.C.
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      To:    Clerk of the Court
             All counsel via ECF




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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------- X
                                                                        Civil Action: 21-CV-4106
   GILEAD SCIENCES, INC., GILEAD SCIENCES                               (AMD)(RER)
   IRELAND UC, and GILEAD SCIENCES, LLC,


                                               Plaintiffs,

                            v.

   SAFE CHAIN SOLUTIONS, LLC; et al.,

                                               Defendant(s).

   -----------------------------------------------------------------X




                                       ANSWER AND CROSS-CLAIMS




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on February 2, 2022, I caused the foregoing Answer and Cross-Claims to

  be filed on the Court’s ECF system which will be electronically served upon all counsel in this matter

  via ECF.




                                                        /s/ Jacob Laufer, Esq.




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